Case 1:17-cv-00168-WJM-NYW Document 42 Filed 05/05/17 USDC Colorado Page 1 of 4




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:17-CV-00168-WJM-NYW


  UNITED STATES OF AMERICA,

                 Plaintiff,
         v.

  PIONEER NATURAL RESOURCES COMPANY
  and PIONEER NATURAL RESOURCES USA, INC.

                 Defendants.

  ______________________________________________________________________________

     PLAINTIFF’S UNOPPOSED MOTION FOR PERMISSION TO FILE AN EARLY
    MOTION FOR SUMMARY JUDGMENT THAT EXCEEDS 15 PAGES IN LENGTH
  ______________________________________________________________________________

         Plaintiff, the United States of America, for and on behalf of the U.S. Environmental

  Protection Agency (“EPA”), hereby seeks the Court’s permission to file a Motion for Early

  Partial Summary Judgment (hereinafter an “Early PSJ Motion”) on corporate successorship

  issues in a length not to exceed 50 pages, and seeks guidance on whether the United States may,

  in addition to filing the motion with incorporated memorandum of law and supporting materials

  on the Case Management/Electronic Case Filing (“CM/ECF”), also provide the Court and

  counsel for the Defendants: (1) a disc with the motion and incorporated memorandum of law

  along with embedded hyperlinks to a specific page of the supporting materials docketed on

  CM/ECF (with relevant provisions highlighted, with the Court’s permission); and/or (2) a tabbed

  notebook of the expected 36 exhibits (with relevant provisions highlighted, with the Court’s

  permission).
Case 1:17-cv-00168-WJM-NYW Document 42 Filed 05/05/17 USDC Colorado Page 2 of 4




           In addition, the United States requests that the Court grant Defendants the same

  permission to exceed page limits, if any, that the Court grants the United States pursuant to this

  motion. For example, if the Court grants the United States permission to file an Early PSJ

  Motion in a length not to exceed 50 pages and to provide the Court and counsel for the

  Defendants with a disc as described above, then the United States also requests that the Court

  grant Defendants permission to file responses to the Early PSJ Motion in lengths not to exceed

  50 pages and to provide the Court and counsel for the United States with a disc as described

  above.

           Counsel for the United States has met and conferred in person with Defendants’ counsel

  on April 21, 2017, and subsequently by telephone and email, in accordance with

  D.C.COLO.LCivR 7.1 and NYW Civ. Practice Standard 7.1, and is authorized to represent that

  Defendants do not oppose this Motion. In support of this request, Plaintiff states the following:

           1.     In an effort to streamline this case, the United States expects to file an Early PSJ

  Motion on the corporate successor liability of Defendants Pioneer Natural Resources Company

  and Pioneer Natural Resources USA, Inc. for the alleged liabilities of their respective corporate

  predecessors which the United States contends were past owners and operators, within the

  meaning of 42 U.S.C. § 9607(a), of Operable Unit 1 of the Nelson Tunnel/Commodore Waste

  Rock Pile Superfund Site. The Early PSJ Motion will address numerous mergers, conversions,

  assignments and assumptions, and corporate name changes as alleged in the United States’

  Complaint. Defendant Pioneer Natural Resources Company produced the documents to EPA in

  response to an information request issued pursuant to 42 U.S.C. § 9604(e) which the United

  States will rely upon in its Early PSJ Motion, and upon which the United States believes that the
Case 1:17-cv-00168-WJM-NYW Document 42 Filed 05/05/17 USDC Colorado Page 3 of 4




  issues to be presented are ripe for determination by the Court by way of early summary

  judgment.

         2.      Since the filing of the United States’ prior Motion on April 20, 2017 (Doc. No.

  25), counsel for the United States has drafted moving papers and represents to the Court that for

  clarity and readability of the facts, which will comprise about 2/3 of the length of the brief, the

  use of embedded hyperlinks to pages in lieu of quoting pertinent provisions will not significantly

  reduce the length of the brief. Counsel for the United States believes that with a succinct

  statement of the law, and groupings of transactions for legal analysis, such as a series of statutory

  mergers where the United States alleges that liability is assumed by successor corporations under

  applicable state law, the brief will still need to be up to 50 pages in length. The United States

  now expects there will be 36 exhibits supporting the Early PSJ Motion. With leave of the Court,

  the United States will also highlight the specific provisions of the supporting documents.

         3.      To assist the Court and counsel for the Defendants, in addition to filing supporting

  documents with the CM/ECF and citing relevant page numbers in the brief, the United States can

  also: (1) prepare a disc with the motion and incorporated memorandum of law with embedded

  hyperlinks to a specific page of the supporting materials docketed on the CM/ECF (with relevant

  provisions highlighted, with the Court’s permission); and/or (2) provide courtesy hard copies of

  the brief and tabbed notebook of the expected 36 exhibits (with relevant provisions highlighted,

  with the Court’s permission).

         4.      Defendants should be permitted to use the same procedure the United States will

  use, and have the same length of briefing, to respond to the United States’ Early PSJ Motion.
Case 1:17-cv-00168-WJM-NYW Document 42 Filed 05/05/17 USDC Colorado Page 4 of 4




         WHEREFORE, the United States respectfully requests leave of the Court to file a Motion

  for Early Partial Summary Judgment on corporate successorship issues in a length not to exceed

  50 pages, and seeks the Court’s guidance on whether, in addition to filing the brief and

  supporting materials CM/ECF and citing page numbers, the United States may also provide the

  Court and Defendants’ counsel: (1) a disc with the brief incorporating embedded hyperlinks to a

  specific page of the supporting materials docketed on CM/ECF and copied onto the disc; or (2) a

  hard copy of the brief and tabbed notebook of the expected 36 exhibits docketed on CM/ECF.

  The United States also requests the Court’s preference on the highlighting of portions of the

  exhibits which will be cited. The United States further requests that whatever order the Court

  should enter in response to this motion equally apply to the Defendants in responding to the

  United States’ Early Partial Summary Judgment Motion.



                                               Respectfully submitted,

                                               JEFFREY H. WOOD
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                                               Environment and Natural Resources Division
                                               U.S. Department of Justice

                                               /s/ Jerel L. Ellington___________________
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